     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 1 of 14 Page ID #:37




 1    Matt Valenti, Esq. (State Bar No. 253978)
      E-mail: mattvalenti@valentilawapc.com
 2
      VALENTI LAW APC
 3    5252 Balboa Ave., Suite 203
      San Diego, CA 92117
 4
      Phone: (619) 540-2189
 5
      Attorney for Plaintiff Jose Madriz
 6
 7
 8
 9                         UNITED STATES DISTRICT COURT

10                        CENTRAL DISTRICT OF CALIFORNIA

11
12    JOSE MADRIZ,                             Case No.: 5:21-cv-01351-JGB-KK
13
                  Plaintiff,                   FIRST AMENDED COMPLAINT
14                                             FOR:
        vs.
15                                             DENIAL OF CIVIL RIGHTS AND
                                               ACCESS TO PUBLIC FACILITIES
16                                             TO PHYSICALLY DISABLED
      AZUSA ROWLAND LLC, a Delaware            PERSONS IN VIOLATION OF THE
17    limited liability corporation; JOHN      AMERICANS WITH DISABILITIES
                                               ACT OF 1990, (42 U.S.C. §12101, et
      YOO dba RIO PICANHA                      seq.) AND THE UNRUH CIVIL
18                                             RIGHTS ACT, (CALIFORNIA CIVIL
      STEAKHOUSE, and DOES 2-10,
19                                             CODE §51, et seq.)
                  Defendants.
20                                                DEMAND FOR JURY TRIAL
21
22
23
24
25
26
27
28

                                 FIRST AMENDED COMPLAINT - 1
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 2 of 14 Page ID #:38




 1           Plaintiff JOSE MADRIZ (hereinafter referred to as “Plaintiff”) complains
 2    of AZUSA ROWLAND LLC, a Delaware limited liability corporation; JOHN
 3    YOO dba RIO PICANHA STEAKHOUSE; and DOES 2-10 (each, individually a
 4    “Defendant” and collectively “Defendants”) and alleges as follows:
 5                                       I.    PARTIES
 6          1.     Plaintiff JOSE MADRIZ is a California resident and a qualified
 7    physically disabled person. He cannot walk due to paraplegia and uses a
 8    wheelchair for mobility. Plaintiff prides himself on his independence and on
 9    empowering other disabled persons to be independent.
10          2.     Defendants AZUSA ROWLAND LLC, a Delaware limited liability
11    corporation; JOHN YOO dba RIO PICANHA STEAKHOUSE, and DOES 2-10
12    are and were the owners, operators, lessors and/or lessees of the subject business,
13    property, and facility at all times relevant in this Complaint.
14          3.     Plaintiff does not know the true names of Defendants, their business
15    capacities, their ownership connection to the property and business, or their
16    relative responsibilities in causing the access violations herein complained of, and
17    alleges a joint venture and common enterprise by all such Defendants. Plaintiff is
18    informed and believes that each of the Defendants herein, including DOES 2
19    through 10, inclusive, is responsible in some capacity for the events herein alleged,
20    or is a necessary party for obtaining appropriate relief. Plaintiff will seek leave to
21    amend when the true names, capacities, connections, and responsibilities of the
22    Defendants and Does 1 through 10, inclusive, are ascertained.
23          4.     Defendants own and owned the property located at 381 N. Azusa
24    Ave., West Covina, CA 91791 (“Subject Property”) at all relevant times.
25          5.     Defendants operate and operated the Restaurant doing business as Rio
26    Picanha Steakhouse, located at the Subject Property, at all relevant times.
27          6.     Plaintiff alleges that the Defendants have been and are the owners,
28    franchisees, lessees, general partners, limited partners, agents, trustees, employees,

                                    FIRST AMENDED COMPLAINT - 2
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 3 of 14 Page ID #:39




 1    subsidiaries, partner companies and/or joint ventures of each of the other
 2    Defendants, and performed all acts and omissions stated herein within the course
 3    and scope of such relationships causing the damages complained of herein.
 4                            II.    JURISDICTION AND VENUE
 5           7.     This Court has subject matter jurisdiction over this action pursuant to
 6    28 U.S.C. §1331 and §1343(a)(3) and (a)(4) for violations of the Americans with
 7    Disabilities Act of 1990, U.S.C. §12101, et seq.
 8           8.     Pursuant to supplemental jurisdiction, an attendant and related cause
 9    of action, arising out of the same nucleus of operative facts and arising out of the
10    same transactions, is also brought under California’s Unruh Civil rights Act, which
11    expressly incorporates the Americans with Disabilities Act.
12           9.     Venue is proper in this court pursuant to 28 U.S.C. U.S.C. §1391(b)
13    and is founded on the fact that the real property which is the subject of this action
14    is located in this district and that Plaintiff’s causes of action arose in this district.
15                                          III.   FACTS
16           10.    Plaintiff uses a wheelchair for mobility.
17           11.    Defendants’ business is open to the public, a place of public
18    accommodation, and a business establishment.
19           12.    Plaintiff went to the Restaurant on June 5, 2021 to dine with friends
20    and family.
21           13.    Unfortunately, during Plaintiff’s visit to the Restaurant, Defendants
22    did not offer persons with disabilities with equivalent facilities, privileges,
23    advantages, and accommodations offered to other persons.
24           14.    Plaintiff encountered barriers that interfered with and denied Plaintiff
25    the ability to use and enjoy the goods, services, privileges, advantages, and
26    accommodations offered by Defendants at the Subject Property.
27           15.    Parking for patrons visiting the Subject Property is among the
28    facilities, privileges advantages, and accommodations offered by Defendants.

                                     FIRST AMENDED COMPLAINT - 3
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 4 of 14 Page ID #:40




 1          16.    When parking is provided, there must be at least one marked
 2    accessible parking space designated and marked for disabled persons. 2010 ADA
 3    Standards §502, §208.2; CBC §11B-208.2; §11B-502.
 4          17.    Accessible parking spaces and access aisles are required to be clear of
 5    obstructions and level in all directions to provide a surface for stable wheelchair
 6    transfer to and from vehicles. The maximum allowable slope in any direction is
 7    1:48, or 2.083%. 2010 ADA Standards §502.3, §502.4; §302; CBC §11B-502.3,
 8    §11B-502.4; §11B-302.
 9           18.   There are four parking spaces marked as accessible spaces, one pair in
10    front of the Restaurant and another pair on the side. However, each pair of marked
11    spaces has a steep concrete ramp built up in the access aisle. This violation
12    presents a serious safety hazard to Plaintiff when transferring to and from his
13    wheelchair and traversing the concrete ramp. Below is a photo of the front of the
14    Restaurant which clearly shows the violation.
15
16
17
18
19
20
21
22
23
24
25
26
27    //
28    //

                                   FIRST AMENDED COMPLAINT - 4
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 5 of 14 Page ID #:41




 1              19.   Plaintiff personally encountered these barriers.
 2              20.   These inaccessible conditions denied Plaintiff full and equal access
 3    and caused him difficulty, humiliation, and frustration.
 4              21.   The barriers existed during Plaintiff’s visit to the Restaurant on June
 5    5, 2021.
 6              22.   Plaintiff alleges that Defendants knew that the architectural barriers
 7    prevented equal access. Plaintiff will prove that Defendants had actual knowledge
 8    that the architectural barriers prevented equal access and that the noncompliance
 9    with the Americans with Disabilities Act and Title 24 of the California Building
10    Code regarding accessible features was intentional.
11              23.   Plaintiff intends to return to Defendants’ public accommodation
12    facilities in the near future. Plaintiff is currently deterred from returning because of
13    the knowledge of barriers to equal access that continue to exist at Defendants’
14    facilities that relate to Plaintiff’s disabilities.
15              24.   Defendants have failed to maintain in working and useable conditions
16    those features necessary to provide ready access to persons with disabilities. 28
17    C.F.R. §36.211(a).
18              25.   Defendants have the financial resources to remove these barriers
19    without much expense or difficulty in order to make their Property more accessible
20    to their mobility impaired customers. These barriers are readily achievable to
21    remove. The United States Department of Justice has identified that these types of
22    barriers are readily achievable to remove.
23              26.   To date, Defendants refuse to remove these barriers, in violation of
24    the law, willfully depriving disabled persons including Plaintiff of important civil
25    rights.
26              27.   On information and belief, the Plaintiff alleges that the Defendants’
27    failure to remove these barriers was intentional because the barriers are logical and
28    obvious. During all relevant times Defendants had authority, control and dominion

                                      FIRST AMENDED COMPLAINT - 5
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 6 of 14 Page ID #:42




 1    over these conditions and therefore the absence of accessible facilities was not a
 2    mishap but rather an intentional act.
 3          28.    The barriers to access are listed above without prejudice to Plaintiff
 4    citing additional barriers to access by an amended complaint after inspection by
 5    Plaintiff’s access consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir.
 6    2011); Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier
 7    One Imports (USA), Inc., 631 F.3d 939 (9th Cir. 2011). All of these barriers to
 8    access render the premises inaccessible to physically disabled persons who are
 9    mobility impaired, such as Plaintiff, and are barriers Plaintiff may encounter when
10    he returns to the premises. All facilities must be brought into compliance with all
11    applicable federal and state code requirements, according to proof.
12                               FIRST CAUSE OF ACTION
13                 Violation of the Americans With Disabilities Act of 1990
14                                 (42 U.S.C. §12101, et seq.)
15                                  (Against All Defendants)
16          29.    Plaintiff alleges and incorporates by reference, as if fully set forth
17    again herein, each and every allegation contained in all prior paragraphs of this
18    complaint.
19          30.    More than thirty years ago, the 101st United States Congress found
20    that although “physical or mental disabilities in no way diminish a person’s right to
21    fully participate in all aspects of society, yet many people with physical or mental
22    disabilities have been precluded from doing so because of discrimination…in such
23    critical areas as employment, housing, public accommodations, education,
24    transportation, communication, recreation, institutionalization, health services,
25    voting, and access to public services.” 42 U.S.C. §12101(a).
26          31.    In 1990 Congress also found that “the Nation’s proper goals regarding
27    individuals with disabilities are to assure equality of opportunity, full participation,
28    independent living, and economic self-sufficiency for such individuals,” but that

                                    FIRST AMENDED COMPLAINT - 6
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 7 of 14 Page ID #:43




 1    “the continuing existence of unfair and unnecessary discrimination and prejudice
 2    denies people with disabilities the opportunity to compete on an equal basis and to
 3    pursue those opportunities for which our free society is justifiably famous.” 42
 4    U.S.C. §12101(a).
 5          32.    In passing the Americans with Disabilities Act of 1990, which was
 6    signed into law by President George H. W. Bush on July 26, 1990 (hereinafter the
 7    “ADA”), Congress stated as its purpose:
 8          “It is the purpose of this Act
 9
            (1) to provide a clear and comprehensive national mandate for the
10          elimination of discrimination against individuals with disabilities;
11
            (2) to provide clear, strong, consistent, enforceable standards
12          addressing discrimination against individuals with disabilities;
13
            (3) to ensure that the Federal Government plays a central role in
14          enforcing the standards established in this Act on behalf of individuals
15          with disabilities; and

16          (4) to invoke the sweep of congressional authority, including the power
17          to enforce the fourteenth amendment and to regulate commerce, in
            order to address the major areas of discrimination faced day to-day by
18          people with disabilities.”
19
      42 USC §12101(b).
20
21          33.    As part of the ADA, Congress passed “Title III – Public
22    Accommodations and Services Operated by Private Entities” (42 U.S.C. §12181 et
23    seq.). Title III of the ADA prohibits discrimination against any person “on the
24    basis of disability in the full and equal enjoyment of the goods, services, facilities,
25    privileges, advantages, or accommodations of any place of public accommodation
26    by any person who owns, leases (or leases to), or operates a place of public
27    accommodation.” 42 U.S.C. §12182(a).
28

                                    FIRST AMENDED COMPLAINT - 7
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 8 of 14 Page ID #:44




 1          34.    The specific prohibitions against discrimination include, inter alia, the
 2    following:
 3       • 42 U.S.C. §12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It
 4         shall be discriminatory to afford an individual or class of individuals,
           on the basis of a disability or disabilities of such individual or class,
 5         directly, or through contractual, licensing, or other arrangements, with
 6         the opportunity to participate in or benefit from a good, service, facility,
           privilege, advantage, or accommodation that is not equal to that
 7         afforded to other individuals.”
 8
         • 42 U.S.C. §12182(b)(2)(A)(ii): “a failure to make reasonable
 9         modifications in policies, practices, or procedures when such
10         modifications are necessary to afford such goods, services, facilities,
           privileges, advantages, or accommodations to individuals with
11         disabilities...;”
12
         • 42 U.S.C. §12182(b)(2)(A)(iii): “a failure to take such steps as may be
13         necessary to ensure that no individual with a disability is excluded,
14         denied service, segregated, or otherwise treated differently than other
           individuals because of the absence of auxiliary aids and services...;”
15
16       • 42 U.S.C. §12182(b)(2)(A)(iv): “a failure to remove architectural
           barriers, and communication barriers that are structural in nature, in
17
           existing facilities... where such removal is readily achievable;”
18
19       • 42 U.S.C. §12182(b)(2)(A)(v): “where an entity can demonstrate that
           the removal of a barrier under clause (iv) is not readily achievable, a
20         failure to make such goods, services, facilities, privileges, advantages,
21         or accommodations available through alternative methods if such
           methods are readily achievable.”
22
23          35.    Plaintiff is a qualified individual with a disability as defined in the
24    Rehabilitation Act and in the Americans with Disabilities Act of 1990.
25          36.    The acts and omissions of Defendants set forth herein were in
26    violation of Plaintiff’s rights under the ADA and the regulations promulgated
27    thereunder, 28 C.F.R. Part 36 et seq.
28

                                   FIRST AMENDED COMPLAINT - 8
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 9 of 14 Page ID #:45




 1          37.    The removal of each of the physical and policy barriers complained of
 2    by Plaintiff as hereinabove alleged, were at all times herein mentioned “readily
 3    achievable” under the standards of §12181 and §12182 of the ADA. Removal of
 4    each and every one of the architectural and/or policy barriers complained of herein
 5    was already required under California law. Further, on information and belief,
 6    alterations, structural repairs or additions since January 26, 1993, have also
 7    independently triggered requirements for removal of barriers to access for disabled
 8    persons per §12183 of the ADA. In the event that removal of any barrier is found
 9    to be “not readily achievable,” Defendants still violated the ADA, per
10    §12182(b)(2)(A)(v) by failing to provide all goods, services, privileges, advantages
11    and accommodations through alternative methods that were “readily achievable.”
12          38.    On information and belief, as of the date of Plaintiff’s encounter at the
13    premises and as of the filing of this Complaint, Defendants’ actions, policies, and
14    physical premises have denied and continue to deny full and equal access to
15    Plaintiff and to other mobility disabled persons in other respects, which violate
16    Plaintiff’s right to full and equal access and which discriminate against Plaintiff on
17    the basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
18    enjoyment of the goods, services, facilities, privileges, advantages and
19    accommodations, in violation of 42 U.S.C. §12182 and §12183 of the ADA.
20          39.    Defendants’ actions continue to deny Plaintiff’s rights to full and
21    equal access and discriminated and continue to discriminate against him on the
22    basis of his disabilities, thus wrongfully denying to Plaintiff the full and equal
23    enjoyment of Defendants’ goods, services, facilities, privileges, advantages and
24    accommodations, in violation of the ADA, 42 U.S.C. §12182.
25          40.    Further, each and every violation of the Americans With Disabilities
26    Act of 1990 also constitutes a separate and distinct violation of California Civil
27    Code §51(f), §52, §54(c) and §54.1(d), thus independently justifying an award of
28

                                   FIRST AMENDED COMPLAINT - 9
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 10 of 14 Page ID #:46




 1    damages and injunctive relief pursuant to California law, including but not limited
 2    to Civil Code §54.3 and §55.
 3                              SECOND CAUSE OF ACTION
 4                           Violation of the Unruh Civil Rights Act
 5                             (California Civil Code §51, et seq.)
 6                                   (Against All Defendants)
 7           41.    Plaintiff alleges and incorporates by reference, as if fully set forth
 8    again herein, each and every allegation contained in all prior paragraphs of this
 9    complaint.
10           42.    California Civil Code §51 provides that physically disabled persons
11    are free and equal citizens of the state, regardless of their medical condition or
12    disability:
13           All persons within the jurisdiction of this state are free and equal, and
             no matter what their sex, race, color, religion, ancestry, national origin,
14
             disability, or medical condition are entitled to full and equal
15           accommodations, advantages, facilities, privileges, or services in all
             business establishments of every kind whatsoever.
16
17    California Civil Code §51(b) (emphasis added).
18           43.    California Civil Code §51.5 also states, in part: “No business,
19    establishment of any kind whatsoever shall discriminate against…any person in
20    this state on account” of their disability.
21           44.    California Civil Code §51(f) specifically incorporates (by reference)
22    an individual’s rights under the ADA into the Unruh Act.
23           45.    California Civil Code §52 provides that the discrimination by
24    Defendants against Plaintiff on the basis of his disability constitutes a violation of
25    the general antidiscrimination provisions of §51 and §52.
26           46.    Each of Defendants’ discriminatory acts or omissions constitutes a
27    separate and distinct violation of California Civil Code §52, which provides that:
28

                                    FIRST AMENDED COMPLAINT - 10
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 11 of 14 Page ID #:47




 1           Whoever denies, aids or incites a denial, or makes any discrimination
             or distinction contrary to section 51, 51.5, or 51.6 is liable for each and
 2
             every offense for the actual damages, and any amount that may be
 3           determined by a jury, or a court sitting without a jury, up to a maximum
 4           of three times the amount of actual damage but in no case less than four
             thousand dollars ($4,000), and any attorney’s fees that may be
 5           determined by the court in addition thereto, suffered by any person
 6           denied the rights provided in Section 51, 51.5, or 51.6.

 7           47.   Any violation of the Americans with Disabilities Act of 1990
 8    constitutes a violation of California Civil Code §51(f), thus independently
 9    justifying an award of damages and injunctive relief pursuant to California law,
10    including Civil Code §52. Per Civil Code §51(f), “A violation of the right of any
11    individual under the Americans with Disabilities Act of 1990 (Public Law 101-
12    336) shall also constitute a violation of this section.”
13           48.   The actions and omissions of Defendants as herein alleged constitute a
14    denial of access to and use of the described public facilities by physically disabled
15    persons within the meaning of California Civil Code §51 and §52.
16           49.   As a proximate result of Defendants’ action and omissions,
17    Defendants have discriminated against Plaintiff in violation of Civil Code §51 and
18    §52, and are responsible for statutory, compensatory and actual damages to
19    Plaintiff, according to proof.
20                                     PRAYER FOR RELIEF
21           Plaintiff has no adequate remedy at law to redress the wrongs suffered as set
22     forth in this Complaint. Plaintiff has suffered and will continue to suffer
23     irreparable injury as a result of the unlawful acts, omissions, policies, and
24     practices of the Defendants as alleged herein, unless Plaintiff is granted the relief
25     he requests. Plaintiff and Defendants have an actual controversy and opposing
26     legal positions as to Defendants’ violations of the laws of the United States and
27     the State of California.
28

                                   FIRST AMENDED COMPLAINT - 11
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 12 of 14 Page ID #:48




 1           The need for relief is critical because the civil rights at issue are paramount
 2     under the laws of the United States of America and the State of California.
 3           WHEREFORE, Plaintiff prays judgment against Defendants, and each of
 4     them, as follows:
 5                1.       Issue a preliminary and permanent injunction directing
 6          Defendants as current owners, operators, lessors, and/or lessees of the
 7          Subject Property and premises to modify the above described property,
 8          premises, policies and related facilities to provide full and equal access
 9          to all persons, including persons with physical disabilities; and issue a
10          preliminary and permanent injunction pursuant to ADA §12188(a) and
11          state law directing Defendants to provide facilities and services usable
12          by Plaintiff and similarly situated persons with disabilities, and which
13          provide full and equal access, as required by law, and to maintain such
14          accessible facilities once they are provided; to cease any discriminatory
15          policies; and to train Defendants’ employees and agents how to
16          recognize disabled persons and accommodate their rights and needs;
17                2.       Retain jurisdiction over the Defendants until such time as
18          the Court is satisfied that Defendants’ unlawful policies, practices, acts
19          and omissions, and maintenance of physically inaccessible public
20          facilities and policies as complained of herein no longer occur, and
21          cannot recur;
22                3.       Award to Plaintiff all appropriate damages, including but
23          not limited to actual and statutory damages according to proof;
24                4.       Award to Plaintiff all reasonable attorney fees, litigation
25          expenses, and costs of this proceeding pursuant to 42 U.S.C §12205 and
26          California Civil Code §52; and
27                5.       Grant such other and further relief as this Court may deem
28          just and proper.

                                   FIRST AMENDED COMPLAINT - 12
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 13 of 14 Page ID #:49




 1
 2    DATED: October 29, 2021                   VALENTI LAW APC
 3
 4                                         By: /s/ Matt Valenti
 5                                             Matt Valenti, Esq.
                                               Attorney for Plaintiff
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                               FIRST AMENDED COMPLAINT - 13
     Case 5:21-cv-01351-JGB-KK Document 10 Filed 10/29/21 Page 14 of 14 Page ID #:50




 1                                     JURY DEMAND
 2           Plaintiff hereby demands a trial by jury for all claims and issues for which a
 3     jury is permitted.
 4
 5
 6    DATED: October 29, 2021                       VALENTI LAW APC
 7
 8                                             By: /s/ Matt Valenti
 9                                                 Matt Valenti, Esq.
                                                   Attorney for Plaintiff
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                  FIRST AMENDED COMPLAINT - 14
